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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                   Case No. 23-cr-00193
                    Plaintiff,
                                                   UNITED STATES’ POSITION
                    v.                             REGARDING SENTENCING

 TERRY JON MARTIN,

                    Defendant.

       I.       INTRODUCTION

       The United States of America, by Mac Schneider, United States Attorney for the

District of North Dakota, and Matthew D. Greenley, Assistant United States Attorney,

acting under authority conferred by 28 U.S.C. § 515, hereby submits the United States’

Position Regarding Sentencing in the above-captioned case. Pursuant to the jointly

submitted plea agreement, the United States recommends a sentence of time served based

upon Martin’s serious infirmity. There appear to be no objections to the Presentence

Investigation Report (Doc. 31), no issues in dispute for the Court to resolve, and

therefore an evidentiary hearing is unnecessary.

       On October 13, 2023, Martin plead guilty to the sole count of the Indictment,

Theft of Major Artwork, in violation of 18 U.S.C. § 668. Sentencing is scheduled for

January 29, 2024.

       II.      FACTUAL BACKGROUND

       The PSIR presented the facts of the case very well. In brief summary, one pair of

ruby slippers from the movie The Wizard of Oz were stolen from the Judy Garland

Museum in Grand Rapids, Minnesota, during the overnight hours of August 27 to August
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28, 2005. (PSIR at ¶¶ 7-9) The ruby slippers were one of only four pairs known to exist

and at the time they were insured for $1,000,000. Id. at ¶ 8. The insurance company

settled with the insured and became the owner of the missing ruby slippers.

       No investigative leads developed for many years until an individual contacted the

Grand Rapids Police Department about facilitating a return of the ruby slippers for

reward money, which had been advertised as $200,000. Id. at ¶¶ 9-10. Ultimately,

individuals connected to the stolen ruby slippers attempted to obtain more money for the

ruby slippers than offered by the insurance company, and threatened to continue to

conceal the ruby slippers for another ten years or “explore other options.” Id. at ¶ 10.

The FBI opened a case in 2017 to investigate the extortion and other crimes. Id. The

FBI successfully recovered the ruby slippers in a sting operation on July 10, 2018, less

than one year after opening the case. Id. at ¶ 11.

       During follow up investigation, call records connected Martin to individuals

suspected to be involved in the possession of stolen goods and extortion. PSIR at ¶¶ 12-

13. Martin was a long-term resident of Grand Rapids and had a lengthy criminal history

that included burglary and trafficking of stolen items. Id. at ¶ 13. Agents executed a

search warrant at Martin’s home based on immigration-related violations that were not

tied to the ruby slippers. Id. at ¶ 13. During the search, Martin was asked about the ruby

slippers, and he initially denied participating in the theft. However, Martin later agreed

to be interviewed by the FBI, and he stated that he was solely responsible for stealing the

ruby slippers. Id. at ¶ 14.




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       Martin provided details of the theft that corroborated the information known to

law enforcement. PSIR at ¶ 16. For example, Martin knew that the museum alarm did

not function, a fact which had also been discovered in the investigation. Further, Martin

stated that he used a sledge to break both a window in a rear door to the museum as well

as the display case containing the ruby slippers. Both the window and the plexiglass case

were shattered, but no other damage was noted in the investigation.

       Martin knew prior to the theft that the ruby slippers had been insured for

$1,000,000. PSIR at ¶ 15. He told the FBI that he reasoned the “rubies” in the ruby

slippers must have been real gem stones to justify the high insured value. Id. When he

later discovered the gem stones were glass, Martin gave them to a fence to dispose of

them. Id.

       III.    DISCUSSION

       The Court must fashion a sentence that is “sufficient, but not greater than

necessary.” 18 U.S.C. § 3553(a). Section 3553(a) lists a number of factors that must be

considered in sentencing, including the “nature and circumstances of the offense”; “the

need for the sentence imposed to reflect the seriousness of the offense . . . afford

adequate deterrence . . protect the public . . . and provide the defendant with needed” care

training or treatment; “the history and characteristics of the defendant”; “the kinds of

sentences available”; the U.S. Sentencing Guidelines; “the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty

of similar conduct;” and “the need to provide restitution to any victims of the offense.”

18 U.S.C. § 3553(a)(1)-(7).

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       A. Advisory U.S. Sentencing Guidelines Range

       The parties agree that Martin’s base offense level is 8, as calculated in the PSIR.

PSIR at ¶ 23. There is a 14-point enhancement based on the value of the ruby slippers at

the time of the theft. Id. at ¶ 24. A two-point enhancement applies because the offense

was committed for pecuniary gain. Id. at ¶ 25. After taking into account Martin’s

acceptance for responsibility, the Plea Agreement and the PSIR agree that the adjusted

offense level is 21. PSIR at ¶ 33; (Doc. 26 at 7).

       The Plea Agreement anticipated a criminal history category of V, though the more

rigorous analysis in the PSIR revealed a criminal history category of VI, resulting in a

guideline imprisonment range of 77-96 months. PSIR at ¶¶ 52, 95.

       B. Departure Grounds

       Part of the disparity between the criminal history category contemplated by the

Plea Agreement and that calculated in the PSIR arises from the treatment of nine

criminal history points Martin received from related criminal conduct that was charged

three different cases in 1986. PSIR at ¶ 111. As noted in the PSIR, if the Court

considers “only 3 total criminal history points for these cases, given the conduct in each

arose out of a single criminal episode, the resulting criminal history category for

consideration would be IV [.]” Id. Further, given Martin’s age, his health concerns, and

the lack of any known criminal conduct since 2005, Martin’s criminal history score is not

“particularly predictive now” of his likelihood to commit other crimes. PSIR at ¶ 111.

Accordingly, application of criminal history category IV is warranted. Id. Using criminal




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history category IV, and an offense level 21, Martin’s USSG range is 57-71 months. See

PSIR at ¶ 111 (recommending a downward departure).

       Furthermore, the PSIR notes that Martin suffers from chronic obstructive

pulmonary disorder. PSIR ¶ 77. Martin is on oxygen at all times, including at his

change of plea hearing. Just prior to the change of plea, Martin elected to receive

hospice services, and a medical determination was made that Martin’s illness is terminal,

and his life expectancy is less than six months. Id. Martin takes many medications,

which cause him numerous side effects. In short, Martin is homebound by his COPD.

The parties agree, and the PSIR concurs, that Martin is seriously infirm to a degree that

justifies a departure. PSIR at ¶ 112. Given that Martin is already immobilized, the

United States recommends no detention or house arrest be imposed.

       C. Section 3553(a) Factors

          1. Nature, Circumstances and Seriousness of the Offense

       The offense is a serious one. As far as thefts go, Martin’s violation was

disgraceful. Afterall, Martin targeted and stole rare and valuable pieces of Americana

with the intent to destroy them and liquidate them for their gemstones. Once Martin

realized his error, he transferred the ruby slippers to a fence, presumably recognizing the

difficulty of selling well-known artwork. It is reasonable to believe that Martin could

foresee that it may take years to sell the ruby slippers, or even that they would be

concealed indefinitely. A younger Martin placed the ruby slippers in jeopardy of being

hidden for years while statutes of limitation ticked by.




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       The owner, MS, suffered loss of pride of ownership and enjoyment of displaying

the ruby slippers. In addition to the gravity of the loss, MS lost an important source of

income. This pair of ruby slippers, the “travelling pair,” gave their owner a modest

living while allowing the public to enjoy this iconic piece of memorabilia. PSIR at ¶ 19.

       A time-served sentence simply does not reflect the seriousness of the crime, but as

noted below, Martin’s health limits the reasonableness of incarceration.

          2. History and Characteristics of the Defendant

       Up to and including the ruby slippers theft, Martin had an extensive criminal

history involving robbery, theft, possessing and selling stolen property, and burglary.

PSIR at ¶¶ 40, 42, 43, 44, 45, 46, 48, 49. Since 2005 Martin appears to have no known

violations.

       Today, Martin is a 76 year old with a long history of COPD. He requires oxygen,

numerable medications, regular care, and he is homebound for practical purposes.

Martin is prescribed powerful pain medication. PSIR at ¶ 117. At times Martin is

confused, and he takes medication for delirium. PSIR at ¶ 79.

       The parties agree that the joint sentencing recommendation is driven by Martin’s

condition more than any other sentencing factor. All the other factors at least arguably

would support a sentence of incarceration if not a high-end guidelines sentence.

          3. Deterrence, Avoiding Sentence Disparities, and Just Punishment

       Had Martin been healthy, a term of incarceration may have provided just

punishment even at his age. This is especially true in art crimes cases where thieves

conceal art for years or decades to evade investigations and statutes of limitation.

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However, in this case the United States’ position is limited to the facts of this case,

wherein this defendant is gravely ill and expected to live less than six months.

Incarceration would not further any sentencing goals at this time in this case.

             4. Restitution

       The United States has notified all known victims of their rights under the Crime

Victims’ Rights Act including the right to full and timely restitution. No restitution

requests have been received, however the PSIR includes a victim impact statement from

a representative of MS. PSIR at ¶ 19.

       IV.      CONCLUSION

       While the advisory guidelines in this case would ordinarily provide a sufficient

sentence to reflect the seriousness of the offense and Martin’s lengthy criminal history,

deter others, and provide just punishment, the Defendant’s health is simply too fragile for

the United States to recommend anything other than a time-served sentence.

       Dated: January 4, 2024

                                           MAC SCHNEIDER
                                           United States Attorney

                                    By:    ____________________________
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